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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS

       Joe Hunsinger,                                    Case 3:21-cv-00830-K-BT

              Plaintiff Pro-Se’,

       v.

       Affordable Auto Protection, LLC,

              Defendant,

       Sing for Services, LLC dba MEPCO,

              Defendant.

                 NOTICE OF FILING PROPOSED MOTION TO DISMISS

       Named Defendant, Affordable Auto Protection, LLC (“Named Defendant”), by and

through undersigned counsel, hereby files a copy of Named Defendant’s Proposed Motion to

Dismiss and states as follows:

       1.      On or about April 12, 2021, Plaintiff, Joe Hunsinger (“Plaintiff”), filed his

Complaint. [D.E.1]

       2.      Due to an inadvertence, Named Defendant’s response to Plaintiff’s Complaint was

not filed timely and this resulted in a Clerk’s Default being entered on June 2, 2021.

       3.      On June 15, 2021, the day undersigned counsel learned of the Clerk’s Default,

undersigned counsel contacted Plaintiff to seek his agreement to set aside the Clerk’s Default, to

which he refused. [D.E. 16 Exhibits 2 and 4].

       4.      On June 16, 2021, Named Defendant filed a Motion to Set Aside Clerk’s Default

(“Motion to Set Aside”). [D.E. 16]
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       5.     In order to avoid delay in setting aside the default, the Motion to Set Aside

mentioned that a Motion to Dismiss would be filed. Attached hereto is a proposed Motion to

Dismiss as Exhibit “A”.

Dated: June 28, 2021.

                                           Respectfully submitted,


                                           BY:    /s/ Jason S. Weiss
                                                  Jason S. Weiss
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                                                  Attorneys for Named Defendant
                                                  Affordable Auto Protection, LLC


                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 28th day of June, 2021, a true and correct copy of the
foregoing was filed with the Clerk of Court using the CM/ECF system which automatically gives
notice to all counsel of record and a copy of same was served on pro se Plaintiff via email at
joe75217@gmail.com.
                                                  /s/ Jason S. Weiss
                                                      Jason S. Weiss
